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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION




CARLOS AYESTAS,                          9
                                         §
                   Petitioner,           §
                                         §
v.                                       §
                                         §      CIVIL ACTION NO. H-09-2999
RICK THALER, Director,                   §
Texas Department of Criminal             §
Justice-Correctional                     §
Institutions Division,                   §
                                         §
                   Respondent.           §




                       MEMORANDUM OPINION AND ORDER

       Petitioner Carlos Ayestas has filed a petition for a writ of

habeas corpus under 28 U.S.C.        §   2254 challenging his state court

conviction and death sentence for capital murder.            Respondent Rick

Thaler has filed a motion for summary judgment.             Having carefully

considered the petition, the summary judgment motion, the state

court record, the partiesr submissions, and the applicable law, the

court will grant respondent's motion for summary judgment and will

deny Ayestas' s petition for a writ of habeas corpus, entering final

judgment by separate order.        The reasons for these rulings are set

out in detail below.
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       A y e s t a s was c o n v i c t e d o f c a p i t a l m u r d e r f o r m u r d e r i n g S a n t i a g a

Paneque d u r i n g t h e c o u r s e o f          c o m m i t t i n g o r a t t e m p t i n g t o commit

robbery o r burglary.              About two weeks b e f o r e t h e m u r d e r , A y e s t a s a n d

a f r i e n d w e n t t o l o o k a t a c a r o f f e r e d f o r s a l e b y Anna McDougal,

who l i v e d a c r o s s t h e s t r e e t from P a n e q u e .       McDougal w e n t i n s i d e h e r

h o u s e f o r a b o u t 1 5 m i n u t e s w h i l e t h e men i n s p e c t e d t h e c a r .          When

s h e came b a c k o u t s i d e , McDougal saw t h e two men l e a v i n g P a n e q u e r s

house.       When s h e a s k e d what t h e y were d o i n g , t h e men t o l d McDougal

t h a t P a n e q u e c a l l e d them o v e r t o l o o k a t some f u r n i t u r e s h e was

trying t o s e l l .

        Paneque's        son,     Elin,      l e f t t h e house a t about                8 : 3 0 a.m.      on

September 5,          1995.      He r e t u r n e d home f o r l u n c h a t 1 2 : 2 3 p.m.'               and

r a n g t h e d o o r b e l l , b u t t h e r e was no r e s p o n s e .     H e p u t h i s key i n t h e

d o o r k n o b , b u t n o t i c e d t h a t t h e d o o r was u n l o c k e d .      Upon e n t e r i n g ,

h e saw t h a t t h e room was r a n s a c k e d a n d i t e m s w e r e m i s s i n g .          The r e s t

o f t h e h o u s e was i n much t h e same c o n d i t i o n .            E l i n went t o t h e house

o f a n e i g h b o r , M a r i a D i a z , a n d c a l l e d 911.         Upon r e t u r n i n g t o h i s

house,       he   found h i s       mother's         body     on    the     floor       of    t h e master



             T h i s s t a t e m e n t of f a c t s i s a d a p t e d from t h e Texas Court of
 C r i m i n a l A p p e a l s ("TCCA") o p i n i o n a f f i r m i n g A y e s t a s ' s c o n v i c t i o n
 and sentence.               See A y e s t a s v. S t a t e , No. 7 2 , 9 2 8 ( T e x . C r i m . App.
 Nov. 4 , 1 9 9 8 ) . Where t h i s o p i n i o n d i v e r g e s f r o m , o r e x p a n d s
 upon, t h e T C C A r s d i s c u s s i o n o f t h e f a c t s , t h e d i f f e r e n c e w i l l b e
 noted by a s p e c i f i c c i t a t i o n t o t h e r e c o r d .
         2
                  He s t a t e d t h a t he s p e c i f i c a l l y noted t h e time.
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bathroom.          She h a d s i l v e r d u c t t a p e on h e r a n k l e s .             Elin returned

t o D i a z ' s h o u s e a n d a s k e d h e r t o g o make s u r e t h a t h i s m o t h e r was

dead.      D i a z e n t e r e d t h e Paneque h o u s e a n d c a l l e d M s . P a n e q u e ' s name.

She f o u n d M s .      P a n e q u e l y i n g f a c e down on t h e f l o o r .            Her f a c e was

a d a r k c o l o r a n d s h e was n o t b r e a t h i n g .

        Detective            Mark     Reynolds          of     the     Harris         County        Sheriff's

D e p a r t m e n t t e s t i f i e d t h a t t h e h o u s e was r a n s a c k e d b u t b o r e n o s i g n s

of f o r c e d e n t r y .      P a n e q u e r s body was f a c e down i n a p o o l o f b l o o d

and vomit.          Her w r i s t s were bound w i t h t h e c o r d f r o m a n a l a r m c l o c k

a n d t h e n wrapped i n s i l v e r d u c t t a p e .              She a l s o h a d d u c t t a p e o v e r

h e r eyes and around h e r neck.                     R e y n o l d s a l s o t e s t i f i e d t h a t i t was

a p p a r e n t t h a t P a n e q u e was b e a t e n .      Her f a c e was s w o l l e n a n d c o v e r e d

with c u t s and b r u i s e s .        R e y n o l d s showed n e i g h b o r s p h o t o g r a p h s o f two

s u s p e c t s a n d McDougal i d e n t i f i e d them a s t h e same two men who were

i n P a n e q u e r s h o u s e a b o u t two weeks b e f o r e t h e m u r d e r .               One o f t h e

s u s p e c t s was P e t i t i o n e r a n d t h e o t h e r was F r e d e r i c o Z a l d i v a r .

        An a u t o p s y c o n d u c t e d b y D r . M a r i l y n Murr, a n a s s i s t a n t m e d i c a l

examiner f o r H a r r i s County, r e v e a l e d t h a t Paneque s u f f e r e d m u l t i p l e

b l o w s w h i l e s h e was s t i l l a l i v e , r e s u l t i n g i n numerous b r u i s e s a n d

lacerations.            She h a d f r a c t u r e d b o n e s i n h e r r i g h t e l b o w a n d n e c k ,

a n d b r u i s e s on e a c h s i d e o f h e r p e l v i c a r e a , j u s t a b o v e t h e h i p s .

An i n t e r n a l e x a m i n a t i o n r e v e a l e d e x t e n s i v e h e m o r r h a g i n g i n t h e n e c k

and head.         She h a d a n o t h e r f r a c t u r e , c a u s e d b y a " s i g n i f i c a n t amount

of force,"          i n t h e roof of t h e o r b i t c o n t a i n i n g h e r r i g h t eye.                 Dr.
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Murr determined that none of these injuries was substantial enough

to kill Paneque.       The cause of death was asphyxiation due to

continual pressure applied to her neck for three to six minutes.

Dr. Murr testified that her initial report indicated asphyxiation

by ligature strangulation, but she reexamined the evidence shortly

before trial at the request of the prosecutor. She then changed her

conclusion to "asphyxiation due to strangulation," which allowed for

the possibility that a hand or hands might have caused the asphyxia.

       Police recovered fingerprints from the crime scene. Two prints

recovered from the tape around Paneque's ankles, and two recovered

from the roll of tape, matched Ayestas. On cross examination, the

defense brought out that the two prints on the tape around Paneque's

ankles were only discovered shortly before trial, approximately 20

months after the murder, based on a reexamination undertaken at the

prosecutor's request.

       Henry Nuila testified that he met Ayestas in mid-September 1995

at Ayestas's sister's house in Kenner, Louisiana.          On September 20,

an intoxicated Ayestas told Nuila that he was involved in the murder

of a woman in Houston.     Ayestas asked Nuila for help in killing the

other two participants in the murder because "they had spoken too

much. "    Ayestas told Nuila that, if he declined, Ayestas would kill

him.      Ayestas brandished a gun.    Nuila kept Ayestas talking until

Ayestas passed out.     Nuila then called the police.         They arrested

Ayestas, still in possession of the gun.          Based on this evidence,
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the jury found Ayestas guilty of capital murder                             for murdering

Paneque during the commission or attempted commission of a burglary,

robbery, or both.

        During the penalty phase, the State presented evidence that

Ayestas     served        time    in   prison    in       California    and     Texas        for

possession, and purchase for sale, of narcotics, burglary, and

misdemeanor theft.            He was also the subject of a California warrant

for illegal transportation of aliens. Candelario Martinez testified

that three days after the murder, Ayestas approached him outside a

motel     where      he   was     waiting      for    a    friend.      After      a    brief

conversation, Ayestas pulled a gun on Martinez and ordered him into

one of the rooms. Martinez's friend was also in the room. Ayestas

ordered Martinez onto the floor and threatened to kill him. Ayestas

and two others took Martinez's personal belongings and forced him

into the bathroom, where they again told him that they would kill

him. Martinez begged for his life as the three discussed who would

kill him. Ayestas finally said that he would let Martinez live, but

threatened to kill his family if Martinez told the police.                         Ayestas

and his accomplices left in Martinez's truck.

        Based   on    this       evidence,     along with      the     evidence        of    the

brutality of Panequers murder, the jury found that there is a

likelihood that Ayestas                would    commit     future acts        of   criminal

violence posing           a   continuing threat to            society, that Ayestas

actually     caused       Paneque's      death       or   intended     to   kill       her    or
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anticipated      that     a human   life would    be   taken,   and    that   the

mitigating evidence did not warrant a sentence of life imprisonment.

Accordingly, the trial court sentenced Ayestas to death.

        The TCCA affirmed Ayestas's conviction and sentence, Ayestas

v. State, No. 72,928 (Tex. Crim. App. Nov. 4, 1998), and denied his

application for habeas corpus relief, Ex parte Ayestas, No. WR-

69,674-01      (Tex. Crim. App. Sept. 10, 2008).             Ayestas    filed a

petition for a writ of habeas corpus in this Court on September 11,

2009.      Thaler moved for summary judgment on April 9, 2010, and

Ayestas responded to that motion on October 26, 2010.

                    11.    The Applicable Leqal Standards

A.      The Antiterrorism and Effective Death Penalty Act

        This federal petition for habeas relief is governed by the

applicable provisions of the Antiterrorism and Effective Death

Penalty Act ("AEDPA") .        See Lindh v. Murphy, 521 U.S. 320, 335-36

(1997).      Under the AEDPA federal habeas relief based upon claims

that were adjudicated on the merits by the state courts cannot be

granted unless the state court's decision (1) "was contrary to, or

involved an unreasonable application of, clearly established federal

law, as determined by the Supreme Court of the United States" or (2)

"was based on an unreasonable determination of the facts in light

of the evidence presented in the State court proceeding."              28 U.S.C.

§    2254(d); Kitchens v. Johnson, 190 F.3d 698, 700 (5th Cir. 1999).

For questions of law or mixed questions of law and fact adjudicated
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on the merits in state court, this court may grant relief under

28 U.S.C. 5     2254(d) (1) only if the state court decision "was

contrary to, or involved an unreasonable application of, clearly

established     [Supreme Court precedent] . "       See Martin     v.   Cain,

246 F.3d 471, 475 (5th Cir.), cert. denied, 534 U.S. 885 (2001).

Under the "contrary to" clause, this court may afford habeas relief

only if "'the state court arrives at a conclusion opposite to that

reached by    . . .   [the Supreme Court] on a question of law or if the

state court decides a case differently than           . . .    [the Supreme

Court] has     on a     set of materially    indistinguishable     facts.' "

Dowthitt v. Johnson, 230 F.3d 733, 740-41 (5th Cir. 2000), cert.

denied, 532 U.S. 915 (2001) (quoting Williams v. Taylor, 529 U.S.

362, 406 (2000)).

     The "unreasonable application" standard permits federal habeas

relief only if a state court decision "identifies the correct

governing legal rule from [the Supreme Court] cases but unreasonably

applies it to the facts of the particular state prisoner's case" or

"if the state court either unreasonably extends a legal principle

from [Supreme Court] precedent to a new context where it should not

apply or unreasonably refuses to extend that principle to a new

context where it should apply."        Williams, 529 U.S. at 406.          "In

applying this standard, we must decide (1) what was the decision of

the state courts with         regard to the questions before us and

(2) whether there is any established federal law, as explicated by
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the Supreme Court, with which the state court decision conflicts."

Hoover v. Johnson, 193 F.3d 366, 368 (5th Cir. 1999).               A federal

courtrs "focus on the 'unreasonable applicationr test under Section

2254 (d) should be on the ultimate legal conclusion that the state

court reached and not on whether the state court considered and

discussed every angle of the evidence."           Neal v. Puckett, 239 F.3d

683, 696 (5th Cir. 2001), aff'd,            286 F.3d 230    (5th Cir. 2002)

(en banc) , cert. denied sub nom. Neal v. Epps, 537 U. S. 1104 (2003).

The sole inquiry for a federal court under                the   'unreasonable

applicationr prong becomes "whether the state court's determination

is 'at least minimally consistent with the facts and circumstances

of the case.'"      Id. (quoting Hennon v. Cooper, 109 F.3d 330, 335

(7th Cir. 1997)); see also Gardner v. Johnson, 247 F.3d 551, 560

(5th Cir. 2001) ("Even though we cannot reverse a decision merely

because we would reach a different outcome, we must reverse when we

conclude that the state court decision applies the correct legal

rule to a given set of facts in a manner that is so patently

incorrect as to be 'unreasonable.' " )       .
       The AEDPA precludes federal habeas relief on factual issues

unless the state court's adjudication of the merits was based on an

unreasonable determination of the facts in light of the evidence

presented     in   the   state    court     proceeding.      See   28   U.S.C.

§   2254(d) (2); Hill v. Johnson, 210 F.3d 481, 485 (5th Cir. 2000),

cert. denied, 532 U.S. 1039 (2001).              The state court's      factual

determinations are presumed correct unless rebutted by "clear and

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convincing evidence."       28 U.S.C.   §   2254(e)(l); see also Jackson v.

Anderson, 112 F.3d 823, 824-25              (5th Cir. 1997), cert. denied,

522 U.S. 1119 (1998).


B.    The Standard for Summary Judgment in Habeas Corpus Cases

      "As a general principle, Rule 56 of the Federal Rules of Civil

Procedure, relating to summary judgment, applies with equal force

in the context of habeas corpus cases."          Clark v. Johnson, 202 F.3d

760, 764 (5th Cir.) , cert. denied, 531 U.S. 831 (2000).          In ordinary

civil cases a district court considering a motion                for summary

judgment is required to construe the facts in the case in the light

most favorable to the nonmoving party.             See Anderson v. Liberty

Lobby, 477 U.S. 242, 255 (1986). Where, however, a state prisoner's

factual allegations have been resolved against him by express or

implicit findings of the state courts, and the prisoner fails to

demonstrate by clear and convincing evidence that the presumption

of correctness established by 28 U.S.C.            §   2254 (e)(1) should not

apply, it is inappropriate for the facts of a case to be resolved

in the petitioner's favor. See Marshall v. Lonberger, 459 U.S. 422,

432 (1983); Sumner v. Mata, 449 U.S. 539, 547 (1981). In reviewing

factual determinations of the Texas state courts, this court is

bound by such findings unless an exception to 28 U.S.C.             §   2254 is

shown.
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                                111.   Analysis

A.     Ineffective Assistance of Counsel

       In his first two claims for relief, Ayestas contends that his

counsel rendered ineffective assistance.             First, he alleges that

counsel was ineffective during the penalty phase by failing to

investigate and present mitigating evidence.                Specifically, he

contends that counsel failed to develop evidence of: (a) his good

character traits; (b) his kindness and reputation for helping those

less fortunate; and (c) his lack of criminal history in his native

Honduras; that (d) his co-defendant, Francisco Zaldivar, was a bad

influence     on   him;   and    (e) he    suffers   from   mental    illness,

alcoholism, and drug addiction. Second, he alleges that counsel was

ineffective at the guilt/innocence phase by failing to: (a) object

to a jury charge; (b) object to an allegedly racially discriminatory

jury strike; (c) perform a complete voir dire regarding jurors'

conscientious scruples against the death penalty; (d) object to a

statement by the prosecutor; and (e) object to the failure of the

police to inform Ayestas of his right to contact the Honduran

consulate.

       To prevail on a claim for ineffective assistance of counsel,

Petitioner

             must show that . . . counsel made errors so
             serious that counsel was not functioning as the
             "counsel" guaranteed by the Sixth Amendment.
             Second, the [petitioner] must show that the
             deficient performance prejudiced the defense.
             This requires showing that counsel's errors
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            were so serious as to deprive the defendant of
            a fair trial, a trial whose result is reliable.

Strickland v. Washington, 466 U.S. 668, 687 (1984).              In order to

prevail on the first prong of the Strickland test, Petitioner must

demonstrate that counselfs representation fell below an objective

standard of reasonableness.            Id. at 687-88.    Reasonableness is

measured against prevailing professional norms, and must be viewed

under the totality of the circumstances.           Id. at 688.     Review of

counsel's performance is deferential.          Id. at 689.

            1.     Procedural Default

     Ayestas did not present sub-claims 1 (b) and (e), and 2 (a) and

(b) to the TCCA.       The AEDPA requires that a prisoner exhaust his

available State remedies before raising a claim in a federal habeas

petition.

            An application for a writ of habeas corpus on
            behalf of a person in custody pursuant to the
            judgment of a state court shall not be granted
            unless it appears that (A) the applicant has
            exhausted the remedies available in the courts
            of the State; or (B)(i) there is an absence of
            available State corrective process; or (ii)
            circumstances exist that render such process
            ineffective to protect the rights of the
            applicant.

28 U.S.C. 5 2254(b)(l).       As the Fifth Circuit explained in a pre -

AEDPA case, "federal courts must respect the autonomy of state

courts by requiring that petitioners advance in state court all

grounds for relief, as well as factual allegations supporting those

grounds.         "[Albsent   special    circumstances,   a   federal   habeas
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petitioner must exhaust his state remedies by pressing his claims

in state court before he may seek federal habeas relief."           Orman v.

Cain, 228 F.3d 616, 619-20 (5th Cir. 2000).          This rule extends to

the evidence establishing the factual allegations themselves.           Knox

v. Butler, 884 F.2d 849, 852 n.7 (5thCir. 1989) (citing 28 U.S.C.

5 2254(b)); see also Jones v. Jones, 163 F.3d 285, 298 (5thCir.

1998) (noting that    "   [s]ubsection (b)(1) [of AEDPA] is substantially

identical to pre-AEDPA       §   2254 (b)" )   .
     A petitioner fulfills the exhaustion requirement, however, if

"all crucial factual allegations were before the state courts at the

time they ruled on the merits" of the habeas petition.          Dowthitt v.

Johnson, 230 F.3d 733, 746 (5th Cir. 2000). This court may also

consider evidence presented for the first time in federal habeas

proceedings if the evidence supplements, as opposed to fundamentally

altering, claims presented to the state court.           Morris v. Dretke,

379 F.3d 199, 204-05 (5thCir. 2004) ; Dowthitt, 230 F.3d at 746.            If

the petitioner presents material evidentiary support for the first

time in federal court, then he has not exhausted his state remedies.

Morris, 379 F.3d at 204-05.

     Ayestas's evidence of his kindness and reputation for helping

others merely supplements his exhausted claim that he has good

character traits. Therefore, subclaim l(b) is properly before this

Court.    Ayestas's       evidence of his alleged mental       illness and

substance abuse, however, raises a new, unexhausted, claim, as do

his claims that counsel failed to object to the jury charge and the

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alleged racially discriminatory jury strike.

       Ordinarily, a federal habeas petition that contains unexhausted

claims is dismissed without prejudice, allowing the petitioner to

return to the state forum to present his unexhausted claims.               Rose

v. Lundy, 455 U. S. 509 (1982).    Such a result in this case, however,

would be futile because Petitioner's unexhausted claims would be

procedurally barred as an abuse of the writ under Texas law.                On

habeas review, a federal court may not consider a state inmate's

claim if the state court based its rejection of that claim on an

independent and adequate state ground.         Martin v. Maxey, 98 F.3d

844, 847 (5th Cir. 1996) .       A procedural bar for federal habeas

review also occurs if the court to which a petitioner must present

his claims to satisfy the exhaustion requirement would now find the

unexhausted claims procedurally barred.         Coleman v. Thompson, 501

U.S. 722, 735 n.1 (1991).

       The Texas abuse of the writ statute, TEX. CODE CRIM. PROC. ANN.

art.    11.071, S 5(a), provides, in relevant part, that the TCCA may

not consider a subsequent habeas application unless a petitioner can

show either that the claim could not have been timely raised in

state court or that the claim raises a compelling federal claim:

            (a) If a subsequent application for a writ of
            habeas corpus is filed after filing an initial
            application, a court may not consider the
            merits of or grant relief based on the
            subsequent application unless the application
            contains sufficient specific facts establishing
            that:
                  (1) the current claims and issues have not
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                        been and could not have been presented
                        previously in a timely initial application
                        or in a previously considered application
                        filed under this article . . . because the
                        factual or legal basis for the claim was
                        unavailable on the date the applicant
                        filed the previous application;
                        (2) by a preponderance of the evidence,
                        but for a violation of the United States
                        Constituti,on no rational juror could have
                        found the applicant guilty beyond a
                        reasonable doubt; or
                        (3) by clear and convincing evidence, but
                        for a violation of the United States
                        Constitution no rational juror would have
                        answered in the state's favor one or more
                        of the special issues that were submitted
                        to   the   jury    in   the   applicant's
                        trial . . . .


TEX. CODE CRIM. PROC. ANN. art. 11.071.               The TCCA has held that, to

avoid dismissal under            §   5(a), a petitioner must satisfy both the

state    procedural           requirement   of   §    5(a) (1) and     the   federal

constitutional merits requirements of                 §    5(a) (2) or 5(a) (3).   Ex

parte Campbell, 226 S.W.3d 418, 421 (Tex. Crim. App. 2007) ("We have

interpreted        [§   5 (a)1 to mean that .        . .   1) the factual or legal

basis for an applicant's current claims must have been unavailable

as to all of his previous applications; and 2) the specific facts

alleged, if established, would constitute a constitutional violation

that would likely require relief from either the conviction or

sentence." )   .
        Petitioner argues that because the TCCArs standard boilerplate

dismissal under           §   5(a) does not specify whether dismissal was
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premised on a failure to satisfy state procedural law or on the

merits, federal courts must presume that unexhausted claims are not

necessarily procedurally defaulted.         In support, he cites Ruiz v.

Quarterman, 504 F.3d 523 (5th Cir. 2007), in which the Fifth Circuit

concluded that no adequate and independent state procedural basis

for dismissal could be discerned from the TCCAfs "boilerplate"

dismissal under   §   5 (a).   Ruiz, however, is distinguishable.     There,

it was plain that an assessment of the merits played a significant

role in the dismissal. One TCCA panelist filed a concurring opinion

concluding that Ruiz did not allege a meritorious Sixth Amendment

claim.   Two other panelists filed a dissent from the dismissal,

urging the merits of the Sixth Amendment claim.          Id. at 528.

     The facts of this case are much more like those in Hughes v.

Quarterman, 530 F.3d 336 (5th Cir. 2008), cert. denied, 129 S.Ct.

2378 (2009).      In that case the Fifth Circuit concluded that an

adequate and independent state procedural basis for dismissal was

evident because it was plain that the factual and legal bases for

the petitioner's      claims were available well before he filed his

subsequent habeas application, and because there was "nothing in

[the TCCArs] perfunctory dismissal of the claims that suggest [ed]

that it actually considered or ruled on the merits."            Id. at 342.

Petitioner does not contend that the factual or legal bases for

these claims were unavailable when he filed his initial habeas

petition.   Because the claims were available, it is clear that the
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TCCA would dismiss any successive application under the independent

and adequate state procedural bar of     §   5 (a)(1).   That bar precludes

this Court from reviewing Petitioner's claim absent a showing of

cause for the default and actual prejudice attributable to the

default, or that this Court's       refusal to review the claim will

result in a fundamental miscarriage of justice.          Coleman, 501 U.S.

at 750.

     "Cause" for a procedural default requires a showing that some

objective factor external to the defense impeded counsel's efforts

to comply with the state procedural rule, or a showing of a prior

determination of ineffective assistance of counsel.              Murray v.

Carrier, 477 U.S. 478, 488 (1986); Amadeo v. Zant, 486 U.S. 214, 222

(1988). Petitioner makes no such showing.

     A "miscarriage of justice" means actual innocence, either of

the crime for which he was convicted or of the death penalty.

Sawyer v. Whitley, 505 U.S. 333, 335 (1992). "Actual innocence of

the death penalty" means that, but for a constitutional error, he

would not have been legally eligible for a sentence of death.              Id.

Ayestas makes no showing that he is actually innocent of capital

murder, or that he is legally ineligible for a death sentence.

Therefore, his unexhausted claims are procedurally defaulted.

     2.   Failure to Investigate/Penalty Phase

     Ayestas contends that several of his family members would have

come to the United States from Honduras to testify if asked.               He
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claims that they would have testified about his upbringing and good

character and reputation for kindness. Citing affidavits submitted

by family members, Ayestas contends that they would have testified

that he grew up in a stable, middle class environment, and had a

good relationship with his siblings and step siblings.               Ayestas

states that it is unusual in Honduras for step siblings to have a

good relationship.      Ayestas was a well-behaved child.            Ayestas

states that the family moved when Ayestas was 12 years old.                 He

continued to do well in school and was a devout Catholic.             He was

never in trouble with the law as a child.        He left home when he was

18.   He told his family that he was going to Guatemala, but left a

note in his room saying that he went to the United States instead.

He returned to Honduras several times, always staying with his

parents when he did.

      Ayestas states that the last time he returned to Honduras was

1994, after his incarceration in California.           He told his family

that if someone came looking for him, they were to say he was not

home.     Frederico Zaldivar, Ayestas's      co-defendant in this case,

began to come to the house looking for Ayestas.         The family refused

to tell Zaldivar where Ayestas was and asked him to leave Ayestas

alone.     They regarded Zaldivar as a bad influence.          Ayestas also

contends that counsel would, with minimal investigation, have found

evidence that he had no criminal record in Honduras.

        The state habeas court found, based on a credible affidavit by
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trial       counsel,    that   counsel,    among   other   things,   interviewed

witnesses, talked to Ayestas' s family, employed an investigator,

reviewed juror questionnaires, spoke to Ayestas about his background

and life, and attempted to secure the presence of Ayestas's family

at trial.       3 SH. at 647.3 Regarding the attendance of the Ayestas

family at trial, the state court found that Ayestas repeatedly told

counsel that he did not want his family to attend the trial and did

not agree to have his family contacted until after jury selection

was complete.          The court also found that counsel made every effort

to contact the family after Ayestas permitted her to do so.                 S.H.

at 651. The court further found that the defense investigator sent

a letter to the family in Honduras on May 29, 1997, six weeks before

the penalty phase began.          Counsel sent a second letter on June 10,

1997, stating that Ayestas finally agreed to let counsel contact his

family.       Counsel sent a third letter on July 2, 1997, and faxed a

letter to the United States embassy in Honduras to expedite the

family's travel to the United States. Counsel informed the embassy

of the need for the family's presence at trial, arranged a July 3,

1997, meeting for the family at the embassy, and included a copy of

the June 10, 1997, letter.                The court also found that counsel

communicated with the Ayestas family by phone beginning on June 3,

1997. She spoke with Ayestas's mother, explained the situation, and

requested the family's presence at trial. Ayestas's mother said she

        3
          "SH" refers to the transcript of Ayestas's state
habeas corpus proceeding.
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would call back.    Counsel heard from the family on June 25, when

Ayestas's sister, Somara Zalaya, informed counsel that the family

would have difficulty leaving Honduras for the trial.            Among the

reasons stated were their father's illness and economic reasons.

Counsel called the family again on June 26 and 27, and July 2.

Ayestas's mother appeared unconcerned and gave evasive responses.

Counsel's   assistants also noted the mother's          apparent lack of

concern. The Court further found that counsel informed the Honduran

consulate of Ayestas's    arrest, indictment, and upcoming trial on

June 9, 1997. SH. at 651-653. The court found that counsel was not

ineffective based on the failure of petitioner's family to attend

trial "in light of the [petitioner's] numerous, initial assertions

that he did not want his family contacted and in light of trial

counsel's extensive efforts to attempt to secure the presence of

[petitioner's] family from Honduras after [he] changed his mind."

SH. at 665.

     During the penalty phase, counsel presented letters from an

instructor in the Houston Community College system who taught

Ayestas in an English as a second language program at Harris County

Jail.    She stated that Ayestas was a serious and attentive student,

had no other problems with the law, and had no history of violent

crime.    SH. at 653.

     Based on this evidence, the Court found that counsel made

diligent efforts to secure the familyrs presence at trial.                  The
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Court also found that the evidence the family would have offered

regarding Ayestas's childhood and background was not significantly

different from the evidence in the instructor's letters.             SH. at

654.

       Counsel has a duty to investigate possible mitigating evidence.

Wiggins v. Smith, 539 U.S. 510 (2003).          The record establishes,

however, that counsel did attempt to investigate               and develop

evidence concerning Ayestas's background and childhood.

       First, Ayestas instructed counsel not to call his family.

Neither the Supreme Court nor the Fifth Circuit has ever held that

a lawyer provides ineffective assistance by complying with the

client's clear and unambiguous instructions to not present evidence.

In fact, the Fifth Circuit has held on several occasions that a

defendant cannot instruct his counsel not to present evidence at

trial and then later claim that his lawyer performed deficiently by

following those instructions.       In Autry v. McKaskle, 727 F.2d 358

(5th Cir.      1984),   the   defendant   prevented   his   attorney       from

presenting any mitigating evidence during the punishment phase of

his capital trial.      The Fifth Circuit rejected Autry's claim that

counsel was ineffective for heeding his instructions:             "If Autry

knowingly made the choices, [his lawyer] was ethically bound to

follow Autry' s wishes."      Id. at 362;4 see also Nixon v. Epps, 405

       4The   Autry court also rejected the defendant's claim that
counsel was required to request a competency hearing before
agreeing to comply with the client's decisions. Id.
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F.3d 318, 325-26 (5th Cir. 2005) (finding that counsel was not

ineffective for failing to present additional mitigating evidence

over client's objection: "A defendant cannot block his counsel from

attempting one line of defense at trial, and then on appeal assert

that counsel was ineffective for failing to introduce evidence

supporting that defense.") ; Roberts v. Dretke, 356 F.3d 632, 638

(5th Cir. 2004) (noting that defendant may not obstruct attorney's

efforts, then claim ineffective assistance of counsel); Dowthitt v.

Johnson, 230 F.3d 733, 748 (5th Cir. 2000) (finding that counsel was

not ineffective for failing to call family members during punishment

phase where defendant stated that he did not want family members to

testify) . 5    Second, the state court's     finding that counsel acted

promptly and reasonably to secure the family's presence once Ayestas

relented is amply supported by the record. Therefore, Ayestas fails

to demonstrate deficient performance.

               3.   Guilt/Innocence Phase

      As noted above, Ayestasrs claims that counsel was ineffective

for failing to object to the jury charge and to an allegedly

racially discriminatory jury strike are unexhausted andprocedurally


     5 ~ f .Schriro v. Landrigan, 550 U.S. 465, 475-77 (2007)
(stating that, if defendant instructed counsel not to present
mitigating evidence, "counsel's failure to investigate further
could not have been prejudicial under Strickland"); Amos v.
Scott, 61 F.3d 333, 348-49 (5th Cir. 1995) (denying ineffective
assistance claim for want of prejudice where defendant "strongly
opposed" presenting any witnesses during punishment phase of
trial) .
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defaulted.

                 a.      Failure to Perform Complete V o i r D i r e

     In his first non-defaulted claim of ineffective assistance of

counsel during the guilt/innocence phase, Ayestas contends that his

counsel was     ineffective     for failing to effectively               voir dire

potential jurors who expressed opposition to the death penalty and

in failing to object to the dismissal of these potential jurors.

In Witherspoon v. Illinois, 391 U.S. 510 (1968), the Supreme Court

noted that "[a] man who opposes the death penalty, no less than one

who favors it, can make the discretionary judgment entrusted to him

by the State and can thus obey the oath he takes as a juror.                   But

a jury from which all such men have been excluded cannot perform the

task demanded of it." Id. at 519. Accordingly, the Court held that

             a sentence of death cannot be carried out if
             the jury that imposed or recommended it was
             chosen by excluding veniremen for cause simply
             because they voiced general objections to the
             death penalty or expressed conscientious or
             religious scruples against its infliction.

Id. at 522.     In Adams v. Texas, 448 U.S. 38, 45 (1980), the Court

clarifiedthat Witherspoon established "the general proposition that

a juror may not be challenged for cause based on his views about

capital punishment unless those views would prevent or substantially

impair the performance of his duties as a juror           . . . .   I!




     In this     case,    14 venire    members   were   dismissed,         without

objection, after expressing opposition to the death penalty. Before

dismissing them, however, the trial court spoke individually to each

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venire member in an effort to determine if the juror could set aside

personal feelings and consider the death penalty.         For example, the

court stated to one such group of prospective jurors:

             [M]y question specifically is going to be to
             you this: is what you're saying that no matter
             what the facts of the case, under no situation
             ever could you ever consider death as a
             possible punishment?

11 Tr. at 120.     In response to this question, some jurors asserted

that they could not, under any circumstances, vote to impose the

death penalty.      Others stated that they could in an appropriate

case.     Id. at 120-22.     The jurors who were eventually dismissed

stated that they could never impose a death sentence.              Clearly, a

juror who could never consider a death sentence holds "views [that]

would prevent or substantially impair the performance of his duties

as a juror    . . . ."    Adams, 448 U.S. at 45.     Because the jurors in

question stated that they could never vote to impose a death

sentence, any failure by Ayestas' counsel to attempt to rehabilitate

them and any objection to their dismissal would have been futile.

Counsel was therefore not deficient in this regard.

             b.   Failure To Object To Closing Argument

     Harris County Assistant Medical examiner Dr. Marilyn Murr

initially     concluded    that   the   cause   of   death   was     ligature

strangulation. She later changed the cause of death to asphyxiation

due to strangulation after the prosecutor pointed              out certain

inconsistencies.

        In closing argument, defense counsel stated:
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          And then we go to the doctor's testimony, Dr.
          Murr. Nobody tells me what to do. I believe
          her. On September 6th, she gave one opinion.
          On June 2nd, she gave another opinion from the
          same material that she looked at the first time
          they did this autopsy. The same material that
          was reviewed by another doctor . . . and had
          the same opinion she had. And yet we come back
          on June 2ndand we look at that same data and we
          reach a different conclusion. Or maybe not a
          different conclusion, but a further conclusion.

          What's so important about that? The importance
          in that is that a ligature strangulation might
          be interpreted by 12 citizens of this county as
          being an act clearly dangerous to human life as
          opposed to the intentional killing of a human
          being, whereas manual strangulation, choking
          somebody to death, is clearly an act of intent.
          That is the difference between the two.

          I don1t know what you make about her changing
          her mind. All I know is here it is a month
          before trial and we come up with a completely
          different opinion from the same data with no
          formal second opinion.    And when questioned
          about, well, don't you think it would be good
          to get another opinion, particularly when
          you're changing your mind? I don't need one.
          Well, wasnlt that the policy before? Yeah, it
          was the policy. Aren't two heads better than
          one? Of course they are. Depends on the head.

          Well, Dr. Bellas' 17 years, that's a pretty
          good head to me.    H e r s her boss. Don't you
          think particularly if you're changing your
          mind, that would be the best time, the time you
          really need somebody else to step in and say,
          hey, take a look at this? What do you think?
          Didn't happen, folks. What does it mean to
          you?

20 Tr. at 290-91.    In response, the prosecutor argued:

          [Counsel] suggests there is something kind of
          nebulous about her changing her opinion.     I
          don't think there is any question in any mind
          in this jury box she wouldn't change the cause
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              of death for me.  I wouldnft ask it and God
              knows she's not about to do something like
              that.

    20 Tr. at 305-06.   Ayestas argues that counsel was ineffective for

.   failing to object to this statement because it amounted to the

    prosecutor testifying and commenting on facts outside the record.

         Under Texas law, a prosecutor may present argument to the jury

    on four types of issues:         (1) summation of the evidence;             (2)

    reasonable deductions from the evidence; (3) responses to opposing

    counsel's argument; and (4) pleas for law enforcement.             Moody v.

    State, 827 S.W.2d 875, 894 (Tex.Crim.App.), cert. denied sub nom.

    Moody v Texas, 506 U.S. 839 (1992). The state habeas court found

    that the prosecutor's     comments were a permissible          response to

    defense counselfs argument.      SH at 660, 667.      This conclusion is

    reasonable and is entitled to deference under the AEDPA.

              c.    Failure To Object To Vienna Convention Violation

         The Vienna Convention is a 79-article, multilateral treaty

    negotiated in 1963 and ratified by the United States in 1969.               Per

    Article 36, the treaty requires an arresting government to notify

    a foreign national of his right to contact his consul. United States

    v. Jimenez-Nava, 243 F.3d 192, 195 (5th Cir. 2001) .        Ayestas claims

    that the arresting authorities never informed him of his right to

    contact his consulate, and that counsel was ineffective for failing

    to raise this issue.

         Assuming that counsel was deficient for failing to raise an

    objection, Ayestas nonetheless fails to demonstrate any prejudice.
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Ayestas contends that the consulate might have helped him procure

evidence and witnesses, including his family's presence at trial.

As   discussed    above, however,      trial counsel did         seek consular

assistance in obtaining evidence and witnesses once Ayestas removed

his prohibition on counsel contacting his family.                   The record

establishes that Ayestas himself delayed counsel's work in seeking

this evidence. Once counsel could contact Ayestas's family members,

they did not cooperate.          Ayestas thus fails to demonstrate any

prejudice flowing from counsel's alleged ineffectiveness.

B.     Future Dangerousness

       Ayestas raises two claims concerning the future dangerousness

special     issue.      First,   he   contends    that    the     evidence    was

insufficient to support the jury's finding that he poses a future

danger to society.       Second, he contends that predictions of future

dangerousness are so inherently unreliable that the special issue

is unconstitutional.       Because Ayestas never raised the second claim

in state court, it is unexhausted and procedurally defaulted.

       Ayestas did raise a claim in state court that the evidence was

insufficient to support the jury's            finding, but he based his

argument on state law; he did not cite any provision of the United

States Constitution or other federal law, cited no federal case law,

and did not otherwise alert the Texas Court of Criminal Appeal to

the federal constitutional nature of the claim.                 See Appellant's

Brief at Pgs. 33-36.        The Supreme Court has stated that, not only

must a petitioner present the state court with his claim, he must

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also alert the state court of the constitutional nature of the

claims. See Duncan v. Henry, 513 U.S. 364, 366 (1995) ("If state

courts are to be given the opportunity to correct alleged violations

of prisoners' federal rights, they must surely be alerted to the

fact that the prisoners are asserting claims under the United States

Constitution."). Because Ayestas did not alert the state court to

the federal nature of his claim, this claim is also unexhausted and

procedurally defaulted.      Moreover, even if Ayestas has preserved

this claim, it would not entitle him to habeas relief because the

conclusion of the Texas Court of Criminal Appeals that the evidence

was sufficient to support the jury1s finding of future dangerousness

was not contrary to and did not involve an unreasonable application

of federal law.

     C.    Jury Unanimity

     Ayestas was charged with capital murder for murdering Paneque

in the course of committing or attempting to commit robbery,

burglary, or both.    Ayestas contends that the trial court violated

his right to due process by not requiring jury unanimity on which

underlying crime he committed.       Ayestas never presented this claim

to the Texas state courts, however, and it is therefore unexhausted

and procedurally defaulted.

     D.    Vienna Convention

     Ayestas next claims that his conviction is unconstitutional

because the arresting authorities violated his rights under the

Vienna Convention by failing to notify him of his right to contact

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his consulate.     Ayestas presented this claim in his state habeas

petition.   The TCCA found that the claim was procedurally defaulted

because Ayestas did not raise an objection at trial based on the

alleged violation of his Vienna Convention rights.              SH at 667.

Because this finding of default is based on an independent and

adequate state ground, i . e., Texasrs contemporaneous objection rule,

this Court cannot review Ayestas's      Vienna Convention claim.           See,

e-g., Coleman v. Thompson, 501 U.S. 722, 731-32(1991).

     E . Burden Of Proof In Mitigation S p e c i a l Issue

     Ayestas     next   argues   that   the   mitigation     special   issue

unconstitutionally places the burden on the defendant to prove that

there are mitigating circumstances sufficient to warrant imposition

of a life sentence rather than a death sentence.         This claim has no

merit.

     The Supreme Court has recognized a distinction

            between facts in aggravation of punishment and
            facts in mitigation. . . . If facts found by a
            jury support a guilty verdict of murder, the
            judge is authorized by that jury verdict to
            sentence the defendant to the maximum sentence
            provided by the murder statute. If the
            defendant can escape the statutory maximum by
            showing, for example, that he is a war veteran,
            then a judge that finds the fact of veteran
            status is neither exposing the defendant to a
            deprivation of liberty greater than that
            authorized by the verdict according to statute,
            nor is the judge imposing upon the defendant a
            greater stigma than that accompanying the jury
            verdict alone. Core concerns animating the jury
            and burden-of-proof requirements are thus
            absent from such a scheme.
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Apprendi v, New Jersey, 530 U.S. 466, 491 n.16 (2000). The Supreme

Court has thus drawn a critical distinction between aggravating and

mitigating circumstances in sentencing proceedings.          To the extent

that some aggravating circumstance is required before the court may

exceed an otherwise-prescribed sentencing range, the State must

prove those aggravating circumstances beyond a reasonable doubt.

Under the Texas capital sentencing statute the statutory maximum

sentence in the absence of proof of aggravating circumstances is

life imprisonment.     A court cannot sentence a defendant to death

unless the State proves beyond a reasonable doubt that there is a

probability that the defendant will commit future acts of violence

constituting a continuing threat to society, and that he acted with

the requisite mental state.       Once the State has proven these two

factors, the defendant may be sentenced to death. The sentencing

scheme, however, gives a defendant another opportunity to show that

death should not be imposed, even though the State has met its

burden of proof.     The mitigation special issue is, in this sense,

analogous to an affirmative defense.         Apprendi does not prohibit

placing the burden of proof on this special issue on the defendant.

The mitigation special issue does not address a factor necessary to

increase the maximum sentence; rather, it addresses factors that

allow the jury to impose a sentence less than the statutory maximum.

Ayestas is not entitled to relief on this claim.
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     F.     Consideration Of Evidence In Connection With Mitigation
            Special Issue

     Ayestas       next   argues    that     the   mitigation    special   issue

unconstitutionally limits the evidence the jury can consider.

Ayestas contends that, by limiting the jury to consideration of

evidence that in some way reduces Ayestas's blameworthiness, the

special issue only allows the jury to consider evidence with some

nexus to the crime. This, he argues, did not allow the jury to give

full consideration to his evidence, specifically the letters from

his prison English teacher stating that Ayestas was learning English

and was a good student.            The record does not support Ayestas's

claim.

     In Lockett v. Ohio, 438 U.S. 586, 608 (1978), a plurality of

the Supreme Court held "that the Eighth and Fourteenth Amendments

require that the sentencer         . . .   not be precluded from considering,

as a mitigating factor, any aspect of a defendantfs character or

record    . . .   as a basis for a sentence less than death."          438 U.S.

at 604     (emphasis in original).           This holding is based on the

plurality's conclusion that death "is so profoundly different from

all other penalties" as to render "an individualized decision

. . .     essential in capital cases."             Id. at 605.     In Penry v.

Johnson, 532 U.S. 782 (2001), the Supreme Court clarified that a

capital sentencing jury must "be able to consider and give effect

to a defendantfs mitigating evidence in imposing sentence."                Id. at
797 (internal quotation marks, citation and brackets omitted).                 In
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Penry's trial, the jury was told to determine whether the evidence

supported a finding on any of three statutory special issues.                          It

was then told that it must consider mitigating evidence and, if it

concluded that the weight of the mitigating evidence dictated in

favor of a life sentence, it should answer "no" to one of the

special issues.         I d . at 789-90.

        The   Supreme     Court   found     that     there    were   two    plausible

interpretations of the instructions given to Penry's jury.                        First,

it could be understood as instructing the jurors to weigh the

mitigating evidence in determining its answer to each special issue.

Id.    at 798.     The Court held, however, that none of the special

issues were broad enough for the jury to give mitigating effect to

the evidence of Penry's retardation and the abuse he suffered as a

child. Id. For example, the jury could fully credit the mitigating

evidence, believe it required a sentence less than death, but find

that Penry's      retardation actually made him more d a n g e r o u s in the

future,       thereby    compelling     a   positive      answer     to    the    future

dangerousness       special    issue.       The Court        found   that    a    second

plausible interpretation was that the jury could simply nullify,

i.e., give a negative answer to a special issue which it actually

found was supported by the evidence.               Id.   The Court found that this

interpretation made the jury instructions "internally contradictory,

and placed law-abiding jurors in an impossible situation."                       Id.   The

Court therefore concluded that the instructions injected an element
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of capriciousness into the sentencing decision.           I d . at 800.

     In contrast, Ayestas's jury was instructed:

            Do you find from the evidence, taking into
            consideration all the evidence, including the
            circumstances of the offense, the defendant's
            character and background, and the personal
            moral culpability of the defendant, Carlos
            Manuel Ayestas, that there is a sufficient
            mitigating circumstance or circumstances to
            warrant that a sentence of life imprisonment
            rather than a death sentence be imposed?

SH at 778. Petitioner's jury received a separate special issue that

specifically allowed it to return a life sentence if it found that

the mitigating     evidence       dictated.       The         thus had      two

opportunities to act on the mitigating evidence of Petitioner's

character, as reflected in the letters from his teacher: First, as

  factor weighing against an affirmative finding on the future

dangerousness special issue; and second, as free standing mitigating

evidence to be weighed in its own right in determining sentence.

There was no express or implied requirement of a nexus between the

mitigating evidence and the crime.        Cf. T e n n a r d v. Dretke, 542 U.S.

274, 285 (2004).      Nothing in the instructions given to the jury

precluded    the   jurors   from giving    full weight      to   any   of   the

mitigating evidence.        The instructions were proper and did not

violate Petitioner's rights under the United States Constitution.

    G.      Failure To Inform The Jury Of The Effect Of A Single "No"
            Vote

    In his final claim for relief, Ayestas argues that the Texas

capital sentencing scheme is unconstitutional because it fails to
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inform the jurors of the effect of a single "no" vote on a special

issue No. 3, the mitigation issue. Although Respondent argues that

Ayestas did not present this claim to the Texas state courts, it

appears that he did present it as his tenth point of error on direct

appeal.

     Petitioner argues that Texas Code of Criminal Procedure art.

37.071, which requires a jury instruction informing the jury that it

must have at least 10 "yes" votes to answer the mitigation special

issue "yes" violates the Eighth Amendment. Petitioner argues that

this misleads the individual jurors into thinking that they cannot

return a life sentence unless at least ten jurors agree on an answer

to the special issue.

     In Mills v. Maryland, 486 U.S. 367 (1988), and McKoy v. North

Carolina, 494 U.S. 433 (1990), the Supreme Court held that capital

sentencing schemes requiring the jury to unanimously                find the

existence of any mitigating factor before giving that factor any

weight violated the Eighth Amendment.          'The Court held that each

juror must be free to give any mitigating evidence any weight that

juror deems appropriate in weighing mitigating against aggravating

evidence.   The Texas statute complies with that requirement.                See

McKoy, 494 U.S. at 442-43.

     While the trial court in this case informed the jury that it

could not   affirmatively     find that the mitigating         evidence was

sufficient to warrant a life sentence unless at least 10 jurors

agreed, it never instructed the jury that any particular number of
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jurors had to agree that any particular piece of evidence was

mitigating.     In other words, even if only one juror felt that a

specific piece of evidence was mitigating, that juror could give the

evidence any weight he deemed appropriate.              The instruction only

stated that at least 10 jurors, individually weighing mitigating

evidence, had to agree that there was sufficient mitigating evidence

to impose a life sentence.         This instruction does not suffer from

the constitutional flaw underlying Mills and M c K o y .

     To the extent that Ayestas argues that the jury was misled as

to the effect of a single "no" vote, the Supreme Court has held that

there is no constitutional requirement of an instruction on the

effect of a deadlock.       See Jones v. United States, 527 U.S. 373,

381-82 (1999).

                   IV.   Certificate of Appealabilitv

     Although    Ayestas     has    not     requested    a   certificate     of

appealability ("COA"), the court may nevertheless determine whether

he is entitled to this relief in light of the court's rulings.               See

Alexander v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000) ("It is

perfectly lawful for district court's            [sic] to deny a COA sua

sponte.   The statute does not require that a petitioner move for a

COA; it merely states that an appeal may not be taken without a

certificate of appealability having been issued. " )         .   A petitioner

may obtain a COA either from the district court or an appellate

court, but an appellate court will not consider a petitioner's

request for a COA until the district court has denied such a

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request.       See Whitehead v. Johnson, 157 F.3d 384, 388 (5th Cir.

1988); see also Hill v. Johnson, 114 F.3d 78, 82 (5th Cir. 1997)

( " [TI   he district court should continue to review COA requests before

the court of appeals does").

          A COA may issue only if the petitioner has made a "substantial

showing          the denial           constitutional right. "           U.S.C.

§   2253 (c)(2); see also United States v. Kimler, 150 F.3d 429, 431

(5th Cir. 1998). A petitioner "makes a substantial showing when he

demonstrates that his application involves issues that are debatable

among jurists of reason, that another court could resolve the issues

differently, or that the issues are suitable enough to deserve

encouragement to proceed further."         Hernandez v. Johnson, 213 F.3d

243, 248 (5th Cir. )    ,   cert. denied, 531 U.S. 966 (2000).    The Supreme

Court has stated that

               Where a district court has rejected the
               constitutional claims on the merits, the showing
               required    to    satisfy     §    2253 (c)   is
               straightforward:   The petitioner must demon-
               strate that reasonable jurists would find the
               district court's assessment of the constitu-
               tional claims debatable or wrong.     The issue
               becomes somewhat more complicated where . . .
               the district court dismisses the petition based
               on procedural grounds. We hold as follows: When
               the district court denies a habeas petition on
               procedural   grounds   without    reaching   the
               prisoner's underlying constitutional claim, a
               COA should issue when the prisoner shows, at
               least, that jurists of reason would find it
               debatable whether the petition states a valid
               claim of the denial of a constitutional right
               and that jurists of reason would find it
               debatable whether the district court was correct
               in its procedural ruling.
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Slack v. McDaniel, 529 U.S. 473, 484 (2000).                     " [Tlhe determination

of   whether    a     COA   should        issue must       be   made      by   viewing   the

petitioner's arguments through the lens of the deferential scheme

laid out in 28 U.S.C.            §    2254 (d). "        Barrientes v. Johnson, 221

F.3d 741, 772         (5th Cir. 2000), cert. dismissed, 531 U.S. 1134

(2001).

      The court has carefully considered each of Ayestas' s claims and

concludes that each of the claims is foreclosed by clear, binding

precedent.      The court concludes that under such precedents Ayestas

has failed to make a "substantial showing of the denial of a

constitutional right." 28 U.S.C.                 §   2253(c) (2). The court therefore

concludes      that    Ayestas       is    not       entitled   to    a   certificate     of

appealability on his claims.

                 V.    Petitioner's Motion to Expand Record

      Petitioner has filed a motion to expand the record to add two

affidavits in support of his claim that trial counsel rendered

ineffective assistance.               (Docket Entry No.              16) The Court has

concluded that the Texas courts reasonably found that counsel did

not render deficient performance. Because the affidavits do nothing

to change that conclusion, the affidavits are unnecessary to the

resolution of this case. Accordingly, Petitionerfs Motion To Expand

Record will be denied.
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          VI.   Motion for the Appointment of an Investiqator

     On January 25, 2011, Ayestas filed a motion for funding to hire

an investigator to develop further evidence about his background in

support of his Wiggins claim.         Federal law provides that "[ulpon a

finding that investigative, expert, or other services are reasonably

necessary   for the     representation of the defendant, whether              in

connection with issues relating to guilt or the sentence, the court

may authorize the defendant's attorneys to obtain such services on

behalf of the defendant[.]"        18 U.S.C.A.   §     3599(f).   Neither the

Supreme   Court   nor   the   Fifth    Circuit   has    defined   the   phrase

"reasonably necessary" beyond the statute's plain language.                  The

Fifth Circuit, however, requires a petitioner to show "that he ha[s]

a substantial need" for investigative or expert assistance.              Clark

v. Johnson, 202 F.3d 760, 768 (5th Cir.), cert. denied, 531 U.S. 831

(2000); see also Fuller v. Johnson, 114 F.3d 491, 502 (5th Cir.),

cert. denied, 522 U.S. 963         (1997) ("In light of the statutory

language, we first note that Fuller did not show a substantial need

for expert assistance.").      The Fifth Circuit upholds the denial of

funding "when a petitioner has (a) failed to supplement his funding

request with a viable constitutional claim that is not procedurally

barred, or (b) when the sought-after assistance would only support

a meritless claim, or (c) when the sought after assistance would

only supplement prior evidence. "       Smith v. Dretke, 422 F.3d 269, 288

(5th Cir. 2005) ; see also Woodward v. Epps, 580 F.3d 318, 334 (5th

Cir. 2009), cert. denied, 130 S.Ct. 2093 (2010).

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     Title    28,    section     2254(d) (2) of    the     United    States    Code

prohibits a federal court from granting habeas corpus relief

          with respect to any claim that was adjudicated
          on the merits in State court . . . unless the
          adjudication of the claim . . . resulted in a
          decision that was based on an unreasonable
          determination of the facts in light of the
          evidence   presented   in  the   State   court
          proceeding.

As discussed above, the Texas courtsf conclusion that counsel did

not render deficient performance was reasonable.                    Moreover, the

evidence Ayestas now seeks would merely supplement the evidence he

presented to the state habeas court.                Because Ayestas       is not

entitled to relief on this claim, investigative services are not

reasonably necessary.        Accordingly, Ayestasfs motion (Docket Entry

No. 18) will be denied.

                          VII.   Conclusion and Order

     For the foregoing reasons, it is ORDERED as follows:

     1.      Respondent     Rick    Thaler's      Motion     for     Summary

             Judgment(D0cument No. 11) is GRANTED;

     2.      Petitioner Carlos Ayestas's Petition for a Writ of

             Habeas Corpus (Document No. 1) is in all respects

          DENIED     and Ayestas's      Petition is DISMISSED WITH

             PREJUDICE; and

     3.      No Certificate of Appealability shall issue in this

             case.
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 4.    Petitioner's Motion to Expand Record (Docket Entry No. 16)

       is D E N I E D .

 5.    Petitioner's Motion for the Appointment of an Investigator

       (Docket Entry No. 18) is D E N I E D .

 S I G N E D at Houston, Texas, on this the 26thday of January, 2011.




                                       1         SIM LAKE
                                       UNITED STATES DISTRICT JUDGE
